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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                        Central District
                                                    __________  District of
                                                                         of California
                                                                            __________

    ALEJANDRO VALLESILLO, individually and on                           )
        behalf of all others similarly situated,                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )
                                v.                                              Civil Action No. 8:22-cv-01616 -FWS-JDEx
                                                                        )
             ARG BUSINESS LOANS LLC,                                    )
        a California limited liability company, SEE                     )
                        ATTACHED                                        )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) ARG BUSINESS LOANS LLC
                                           4 Park Plaza Ste 530
                                           Irvine CA 92614




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Javitch Law Office
                                           3 East 3rd Ave. Ste. 200
                                           San Mateo CA 94401




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date:       9/1/2022
                                                                                            Signature of C
                                                                                                         Clerk
                                                                                                           lerk or D
                                                                                                                   Deputy Clerk
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 Civil Action No. 8:22-cv-01616

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
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Mark L. Javitch (CA SBN 323729)
Javitch Law Office
3 East 3rd Ave Ste. 200
San Mateo, CA 94401
Telephone: (650) 781-8000
Facsimile: (650) 648-0705
mark@javitchlawoffice.com
Attorney for Plaintiff
and the Putative Class



                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA
                                 SOUTHERN DIVISION


 ALEJANDRO VALLESILLO,                         Case No.: ___________________
 individually and on behalf of all others      CLASS ACTION COMPLAINT
 similarly situated,
                                               DEMAND FOR JURY TRIAL
                  Plaintiff,
 v.

 ARG BUSINESS LOANS, LLC, a
 California limited liability company, d/b/a
 CORNERSTONE FUNDING, and JOHN
 DOE, an unknown business entity,

                 Defendants.
